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EXHIBIT 11
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April 6, 2021

Cyber Ninjas                                                 Digital Discovery
Attn: Doug Logan                                             Attn: David S. Weber, General Counsel
5077 Fruitville Road                                         8131 LBJ Freeway
#109-421                                                     Suite 325
Sarasota, FL 34232                                           Dallas, TX 75251
legal@cyberninjas.com                                        david.weber@digitaldiscoverycorp.com
dlogan@cyberninjas.com
sales@cyberninjas.com                                        Wake Technology Services
                                                             Attn: Chris Witt, President
CyFir                                                        117 W Gay Street
Attn: Andrew Ward, CEO                                       #126
20130 Lakeview Center Plaza                                  West Chester, PA 19380
Suite 120                                                    cwitt@waketsi.com
Ashburn, VA 20147                                            press@waketsi.com
mediarelations@cyfir.com                                     info@waketsi.com


VIA E-MAIL
Dear Mr. Logan, Mr. Ward, Mr. Weber, and Mr. Witt:
        On behalf of the undersigned legal organizations, we have significant concerns that the
tactics that your companies intend to utilize in your proposed review of the Maricopa County
election results (hereinafter the “Cyber Ninjas ‘Audit’” or “Audit”) likely violate both federal and
Arizona law. In particular, we understand that as part of the “Audit,” Cyber Ninjas in partnership
with other companies has agreed and plans to, among other things, “knock on doors to confirm if
valid voters actually lived at the stated address,” and “validate that individuals that show as having
voted in the 2020 General election match those individuals who believe they have cast a vote,”
Statement of Work ¶¶ 2.1, 5.1 (explaining that voters may be questioned by phone calls and at-
home visits),1 as well as engage in a comparison of the voter rolls against lists of supposedly
“invalid voters,” Statement of Work ¶ 4.1. As explained below, these tactics—no matter their
intent—constitute illegal voter intimidation and might expose your companies to both civil and
criminal penalties.
        Accordingly, we demand that you immediately (1) cease any planned or ongoing violations
of federal and state law, including but not limited to any conduct that may intimidate voters, and
(2) implement safeguards to ensure that no additional legal violations occur. In addition, because
1
 And in fact, Cyber Ninjas admits that it has already done door-to-door physical canvassing. Statement of Work ¶
2.1.
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litigation may commence should your companies engage in the conduct outlined in the Statement
of Work or any other conduct that intimidates voters, we demand that you (3) immediately take all
necessary steps to preserve any and all records related to the Cyber Ninjas “Audit” or other records
concerning audits of the 2020 presidential election, including but not limited to (i) records
concerning the negotiation, bidding, planning, and implementation of the Cyber Ninjas “Audit”;
(ii) any and all communications related to the Cyber Ninjas “Audit” as well as any other efforts to
challenge or verify the 2020 election results; (iii) any and all records—including
communications—by your companies, officers, or employees related to challenging or verifying
the 2020 election results; (iv) any and all communications with legislators and their staff
concerning the “Audit”; and (v) any and all records—including but not limited to communications
and social media posts—by your companies, their officers, and employees related to the accuracy
or validity of the 2020 election results.
        Multiple audits—including hand recounts and forensic audits—have already confirmed the
accuracy, integrity and outcome of the Maricopa County election—a conclusion with which both
Republicans and Democrats agree. Indeed, following an extensive audit, the Republican-led
Maricopa County Board of Supervisors unanimously certified the election results, and the
Republican Chairman of that Board publicly affirmed that the “election was administered with
integrity, transparency, and most importantly in accordance with Arizona state laws.” 2 The Cyber
Ninjas “Audit” is therefore not only unnecessary but also—for the reasons detailed below—
substantially likely to result in the violation of both federal and state laws.
Federal law prohibits intimidating voters, regardless of your companies’ intent when doing
so.
         Numerous federal laws prohibit intimidation of voters. The Civil Rights Act of 1957 makes
it illegal to intentionally intimidate voters.3 The Ku Klux Klan Act of 1871 (“Klan Act”) makes it
illegal either to engage in a conspiracy to injure or intimidate voters, and also allows for, among
other things, the recovery of damages for such conspiracies.4 Crucially, under the Voting Rights
Act of 1965, intimidating voters is illegal regardless of whether someone acts with an intent to
intimidate.5 In addition to providing these civil remedies, federal law also makes intentional voter
intimidation a criminal offense. 6
       Voter intimidation can take many forms and need not include threats of physical violence.
Indeed, the anti-voter intimidation provisions of the Voting Rights Act were intended to address a
“sometimes more subtle, certainly more damaging” obstacle to voting: “fear.”7 As a result, falsely

2
  Jen Fifield, Maricopa County Board of Supervisors votes unanimously to certify election results, Arizona Republic
(Nov. 20, 2020), https://www.azcentral.com/story/news/politics/elections/2020/11/20/maricopa-county-supervisors-
meet-consider-certifying-election-results/6362991002/.
3
  52 U.S.C. § 10101(b).
4
  42 U.S.C. § 1985(3) clauses 3 & 4.
5
  52 U.S.C. § 10307(b).
6
  See 18 U.S.C. § 594 (making intentional voter intimidation a federal crime punishable by imprisonment); see also
52 U.S.C. § 20511 (imposing criminal penalties for anyone who knowingly and willfully intimidates or coerces
prospective voters in registering to vote, or for voting, in any election for federal office).
7
  Voting Rights: Hearing on S. 1564 Before S. Comm. on the Judiciary, 89th Cong. 7 (1965) (Statement of Nicholas
deB. Katzenbach, Att’y Gen. of the United States) (emphasis added); id. at 12 (explaining that the Voting Rights Act
was specifically drafted to address “intimidation” that “involve[s] subtle forms of pressure”). The Ninth Circuit has
also explained that a California statute prohibiting “coercion or intimidation” with respect to voting “is not limited to


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accusing individuals of being unlawful voters can violate both the Voting Rights Act and the Klan
Act.8 As does making calls to voters suggesting that they may suffer negative consequences from
electoral participation. 9 Importantly, your companies cannot escape liability for voter intimidation
by cloaking your activities under the guise of a so-called “audit.” As the Department of Justice has
previously explained, one can violate federal voting rights law even when it is purportedly part of
an effort to investigate election crimes and fraud. 10
         Many of the tactics envisioned by the Statement of Work for the “Audit”—such as
interrogating voters and generating reports on supposedly “unlawful” voters—are just the sort of
conduct that have created federal voting rights liabilities for entities and individuals in the past. 11
Therefore, should you proceed with your current proposed Statement of Work or engage in any
other conduct that intimidates Arizona voters, your companies may be named as defendants in
federal civil rights lawsuits, thereby exposing you to money damages, 12 the payment of attorneys’
fees,13 and court injunctions. The same conduct also may expose your companies, officers, and
employees to criminal penalties.14 And, in any event, contacting and interrogating voters about
their registration and voting history months after an election bears no relation to an “audit” of
ballots.
        Further, under federal civil rights law, you not only have the obligation to not violate
federal voter intimidation laws, but you also have an affirmative obligation under Section 6 of the
Klan Act to take steps to prevent conspiracies to intimidate or injure voters in federal elections15



displays or applications of force” but also covers intimidation “achieved through manipulation and suggestion.”
United States v. Nguyen, 673 F.3d 1259, 1265 (9th Cir. 2012).
8
  See LULAC-Richmond Region Council 4614 v. Pub. Interest Legal Found., No. 18-423, 2018 WL 3848404, at *4-
6 (E.D. Va. 2018) (holding that no showing of specific intent or racial animus is required under § 11(b) [i.e. 52
U.S.C. § 10307(b)]).
9
  National Coalition for Black Civil Participation v. Wohl, 2020 WL 6305325 (S.D.N.Y., Oct. 28, 2020).
10
   See U.S. Att’y for N.D. Ala., District Elections Officers Available Nov. 8 to Receive Complaints of Election
Fraud or Voting Rights Abuses (Oct. 21, 2016), available at https://www.justice.gov/usao-ndal/pr/district-elections-
officers-available-nov-8-receive-complaints-election-fraud-or-voting (observing that even “actions to uncover illegal
voting . . . may violate federal voting rights law”).
11
   For example, the State of Texas recently was forced to settle multiple federal lawsuits after an erroneous audit
wrongly flagged citizens as potentially unlawful voters. See Alexa Ura, Texas will end its botched voter citizenship
review and rescind its list of flagged voters, Texas Tribune (Apr. 26, 2019), available at
https://www.texastribune.org/2019/04/26/texas-voting-rights-groups-win-settlement-secretary-of-state/. Similarly,
the Pence-Kobach Commission’s prior attempt to pursue baseless allegations of unlawful voting disbanded after
facing a barrage of lawsuits and without discovering any widespread voter fraud. See, e.g., John Wagner, Trump
abolishes controversial commission studying alleged voter fraud, Wash. Post (Jan. 4, 2018), available at
https://www.washingtonpost.com/politics/trump-abolishes-controversial-commission-studying-voter-
fraud/2018/01/03/665b1878-f0e2-11e7-b3bf-ab90a706e175_story.html; Andrew Gumbel, Documents disprove
White House voter fraud claims, says ex-member of Trump Commission, The Guardian (Aug. 3, 2018), available at
https://www.theguardian.com/us-news/2018/aug/03/documents-disprove-white-house-voter-claims-says-ex-
member-of-trump-commission.
12
   See, e.g., 42 U.S.C. § 1985(3); 52 U.S.C. § 10307(b).
13
   See, e.g., 42 U.S.C. § 1988(b).
14
   See 18 U.S.C. § 594 (making intentional voter intimidation a federal crime punishable by imprisonment); see also
52 U.S.C. § 20511(1) (imposing criminal penalties for anyone who knowingly and willfully intimidates or coerces
prospective voters in registering to vote, or for voting, in any election for federal office).
15
   See 42 U.S.C. § 1986.


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regardless of whether your company is a participant in that conspiracy. 16 As a result, should your
company, its officers, or employees have any knowledge whatsoever that any participants in the
Cyber Ninjas “Audit” or any funders thereof may be participating in bad faith in order to raise
false accusations of unlawful voting or to frighten voters, you should immediately take steps to
stop those efforts and also report any such activities to, among other entities, the Civil Rights
Division of the United States Department of Justice. Failure to do so likewise may expose you to
penalties under federal law.
Arizona law contains additional restrictions on voter intimidation, and exposes your
companies to additional criminal and civil liability.
       In addition to the restrictions imposed by federal law, the proposed tactics envisioned by
the Cyber Ninjas “Audit” also may violate Arizona criminal and civil law.
        Under Arizona law, it is a class 5 felony to knowingly engage in or attempt any activity
with the intent or effect of threatening, harassing, intimidating, or coercing voters (or conspiring
with others to do so) to influence a voter in casting their vote or to deter them from casting their
vote.17 This includes influencing how they vote or hindering the free exercise of the right to vote
in any way.18 The Arizona Election Procedures Manual lists “directly confronting or questioning
voters in a harassing or intimidating manner” as an example of a prohibited intimidation tactic. 19
To be sure, your companies’ plan to directly question voters about their past voting activities—
particularly in the context of a so-called “Audit” of the election—reasonably could deter people
from voting in the future for fear of reprisals or further harassment. As a result, such questioning
and investigations—particularly after there have already been multiple post-election audits that
have confirmed the election’s integrity—may violate Arizona law.
        Additionally, it is unlawful in Arizona for any person to knowingly “in any manner . . .
practice intimidation upon or against any person, in order to induce or compel such person to vote
or refrain from voting for a particular person or measure at any election provided by law, or on
account of such person having voted or refrained from voting at an election.”20 The unfounded and
unnecessary door-to-door questioning of voters and the implication that these voters have been
engaged in unlawful election activity is clearly intimidating activity that is likely to dissuade
eligible voters from engaging in the political process.
        In addition to violating Arizona’s criminal laws, many of the tactics envisioned by the
Cyber Ninjas “Audit” also risk exposing your company to civil liability under state law, including
but not limited to various torts.
Demand to preserve records.
       Litigation may be imminent should your companies continue to pursue the activities
described in the Statement of Work as part of the Cyber Ninjas “Audit” or engage in any other

16
   See, e.g., Park v. City of Atlanta, 120 F.3d 1157, 1160 (11th Cir. 1997) (“Though we agree with the district court
that § 1986 requires a violation of § 1985, it does not follow that individuals liable under § 1986 must be involved in
the § 1985 conspiracy.”).
17
   Ariz. Sec. State 2019 Election Procedures Manual at 180; A.R.S. § 16-1006(A)(1).
18
   A.R.S. § 16-1006(A)-(B).
19
   Ariz. Sec. State 2019 Election Procedures Manual at 181.
20
   A.R.S. § 16-1013(A)(1).


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conduct that intimidates voters. Therefore, you should be on notice of your obligation to preserve
any and all records related to the Cyber Ninjas “Audit” or other records concerning audits of the
2020 presidential election, including but not limited to (i) records concerning negotiation, bidding,
planning, and implementation of the Cyber Ninjas “Audit,” (ii) any and all communications related
to the Cyber Ninjas “Audit” as well as any other efforts to challenge or verify the 2020 election
results; (iii) any and all records—including communications—by your companies, officers or
employees related to challenging or verifying 2020 election results; (iv) any and all
communications with legislators and their staff concerning the “Audit”; and (v) any and all
records—including but not limited to communications and social media posts—by your
companies, their officers, and employees related to the accuracy of the 2020 election results.
Failure to comply with this demand could expose you to sanctions for spoliation. 21 In addition,
failure to preserve records—as well as any alteration or improper disclosure—may also result in
additional criminal liability. 22


Sincerely,
         /s/ Sara Chimene-Weiss
         Sara Chimene-Weiss
         THE PROTECT DEMOCRACY PROJECT
         530 E McDowell Road, Suite 107-222
         Phoenix, AZ 85004
         Telephone: (202) 934-4237
         sara.chimene-weiss@protectdemocracy.org

         James E. Barton II
         BARTON MENDEZ SOTO PLLC
         401 W Baseline Road, Suite 205
         Tempe, AZ 85783
         Telephone: (602) 616-0535
         James@bartonmendezsoto.com

         Roopali H. Desai
         COPPERSMITH BROCKELMAN PLC
         2800 North Central Avenue, Suite 1900
         Phoenix, AZ 85004
         Telephone: (602) 381-5478
         rdesai@cblawyers.com



21
   See e.g., Lips v. Scottsdale Healthcare Corp., 224 Ariz. 266, 267 (2010) (discussing availability of sanctions for
spoliation).
22
   Federal law requires retention of records related to elections for federal office for 22 months. 52 U.S.C. § 20701.
Any official or custodian who steals, destroys, conceals, mutilates, or alters such records can be punished by up to
one year in prison and $1,000. 52 U.S.C. § 20702; see also Project Vote, Inc. v. Kemp, 208 F. Supp. 3d 1320, 1344
(N.D. Ga. 2016) (“Allowing disclosure of unredacted voter applications is inconsistent also with Congress's concern
for individual privacy evidenced in Federal statutes, including statutes such as [52 U.S.C. § 20701,]”).


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       Sarah R. Gonski
       PERKINS COIE LLP
       2901 N. Central Ave., Suite 2000
       Phoenix, AZ 85012-2788
       Telephone: 602-351-8000
       sgonski@perkinscoie.com
CC:
Karen Fann, Arizona Senate President
Gregg Jernigan, Counsel to Arizona Senate
Katie Hobbs, Arizona Secretary of State
Clint Hickman, Maricopa County Board of Supervisors
Jack Sellers, Maricopa County Board of Supervisors
Steve Chucri, Maricopa County Board of Supervisors
Bill Gates, Maricopa County Board of Supervisors
Steve Gallardo, Maricopa County Board of Supervisors




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